Case 2:15-bk-51399   Doc 58   Filed 10/11/18 Entered 10/11/18 14:10:15   Desc Main
                              Document     Page 1 of 3
Case 2:15-bk-51399   Doc 58   Filed 10/11/18 Entered 10/11/18 14:10:15   Desc Main
                              Document     Page 2 of 3
Case 2:15-bk-51399         Doc 58       Filed 10/11/18 Entered 10/11/18 14:10:15         Desc Main
                                        Document     Page 3 of 3


                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                  COLUMBUS DIVISION

 In Re:                                             Case No. 2:15-bk-51399

 Marilyn Harper-Carter
                                                    Chapter 13
 Timothy Carter, Jr.

 Debtors.                                           Judge C. Kathryn Preston

                                  CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Response to Notice of Final Cure Payment was served
electronically on October 11, 2018 through the Court’s ECF System on all ECF participants
registered in this case at the e-mail address registered with the Court

and by ordinary U.S. Mail on October 11, 2018 addressed to:

          Marilyn Harper-Carter, Debtor
          1571 Wilson Ave.
          Columbus, OH 43207

          Timothy Carter, Jr., Debtor
          1571 Wilson Ave.
          Columbus, OH 43207


                                                    /s/ D. Anthony Sottile
                                                    D. Anthony Sottile (0075101)
                                                    Jon Lieberman (0058394)
                                                    Sottile & Barile, Attorneys at Law
                                                    P.O. Box 476
                                                    Loveland, OH 45140
                                                    Phone: 513.444.4100
                                                    bankruptcy@sottileandbarile.com
